













Opinion issued February 27, 2003











&nbsp;&nbsp;


In The
Court of Appeals
For The
First District of Texas
&nbsp;

&nbsp;
&nbsp;
NO. 01-01-00469-CV
____________
&nbsp;
JOHN H. CAMPBELL, Appellant
&nbsp;
V.
&nbsp;
HARVARD MANAGEMENT COMPANY, INC.;
&nbsp;PRESIDENT AND FELLOWS OF HARVARD COLLEGE;
&nbsp;MC &amp; CO., LTD; SEALY H. CAVIN; AND
&nbsp;GARY F. SNERSON, Appellees
&nbsp;

&nbsp;
&nbsp;
On Appeal from the 122nd District Court
Galveston County, Texas
Trial Court Cause No. 99CV0412
&nbsp;

&nbsp;
&nbsp;
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We withdraw our Opinion of October 10, 2002 and issue this one in its stead. 
Appellants’ motions for rehearing and rehearing en banc are denied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;John H. Campbell, the appellant, challenges the trial court’s “order noting lack
of jurisdiction.”  We dismiss the appeal for want of jurisdiction.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Campbell was a trustee of the Hutchings Joint Stock Association (“HJSA”), in
which the real parties in interest, Harvard Management Company, Inc., President and
Fellows of Harvard College, MC &amp; Co., Ltd., and Sealy H. Cavin, (collectively “the
defendants”) were shareholders.  The defendants filed a derivative and class action
suit against Campbell and others for alleged misconduct relating to Campbell’s
management of HJSA.  Campbell sent a letter to HJSA’s shareholders, describing the
status of the derivative suit and recommending that they oppose the litigation.  The
defendants then sent a letter to the shareholders, responding to Campbell’s statements
and soliciting support for the litigation.  On April 26, 1999, Campbell brought this
defamation suit contending that one line of the defendants’ letter misquoted and
defamed him.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 28, 1999, the defendants filed a motion for summary judgment on the
pleadings,


 and on July 29, Campbell filed an amended petition adding Gary Snerson
as a defendant.  On September 17, in a single pleading, Snerson filed (1) special
exceptions, (2) an answer, (3) a plea in abatement, and (4) a motion for summary
judgment on the pleadings in which he “join[ed] in the same motions, pleas and
special exceptions previously asserted by the other defendants. . . .”  The pleading did
not contain a notice of submission.  On September 21, the submission date for the
summary judgment, the defendants filed a reply in support of their motion for
summary judgment.  Snerson was included and specifically identified in the reply.


 
On September 28, Campbell filed a request for oral hearing that included Snerson in
the style and specifically referenced the joint reply brief filed on behalf of all
defendants.  In addition, Campbell specifically referenced a single submission date
for the motion for summary judgment.


  On October 5, Campbell responded to the
defendants’ reply.  At no time did he object to Snerson’s being added to the motions. 
On October 8, 1999, 21 days after Snerson filed his answer in which he had joined
in the motion for summary judgment, the trial court ultimately granted “Defendants’
Motion for Summary Judgment on The Pleadings.”  The order did not exclude
Snerson.  The order granting the motion for summary judgment stated, in its entirety,
as follows: 
CAME ON FOR CONSIDERATION THIS DAY Defendants’ Motion
For Summary Judgment On the Pleadings and the court having
considered the motion, the brief in opposition, and the petitions on file,
finds that the motion is well-taken and should be, and hereby is,
GRANTED.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Campbell did not move for a new trial or appeal the trial court’s ruling.  The
trial court did not rule on either the special exceptions or the pleas in abatement that
were submitted the same day as the motion for summary judgment, none of the parties
complied with any of the remaining discovery deadlines in the court’s docket control
order, Campbell did not pursue his pending motions to compel, and no party sought
to have the case called to trial on May 22, 2000, the trial date set by the court’s docket
control order.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 10, 2000, 10 months after the summary judgment was granted,
Campbell filed a motion to substitute counsel — the first correspondence in this case
following the summary judgment.  The next week, Campbell received a telephone call
from the trial court coordinator, confirming that the case against Snerson was set for
trial for the two-week period beginning August 21.  That same day, Campbell sent a
letter to the trial court, confirming the trial setting.  Upon receipt of Campbell’s letter,
the trial coordinator wrote a note to the trial judge on Campbell’s letter, stating, “All
defs out except ‘Snerson’ . . . Attorneys need to talk to you regarding summary
judgment.”  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The defendants filed a response to Campbell’s motion to substitute counsel in
which they “reminded” the trial court that it had no jurisdiction over the case.


 
Campbell filed an order asking the trial court to indicate that its summary judgment
order was interlocutory and to direct Snerson to file a notice of submission on his
motion for summary judgment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 28, 2001, the trial court conducted a conference in which it declined
to sign Campbell’s order and agreed to sign the defendants’ order noting that the trial
court “no longer has jurisdiction over this case.”  Campbell contests this order.
&nbsp;
Jurisdiction
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In issue one, Campbell argues that, because there is no final judgment, the trial
court’s order noting lack of jurisdiction is “void.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Texas Supreme Court recently addressed the finality of judgments on pre-trial motions.  See Lehman v. Har-Con Corp., 39 S.W.3d 191 (Tex. 2001).  An order
can be a final judgment for appeal purposes, even though the order does not purport
to be, if it actually disposes of all claims still pending in the case.  Id. at 204.  An
order or judgment is not final for purposes of appeal unless it actually disposes of
every pending claim and party or unless it clearly and unequivocally states that it
finally disposes of all claims and all parties.  Id. at 205.  In Lehman, the court
conceded that “to determine whether an order disposes of all pending claims and
parties, it may of course be necessary for the appellate court to look to the record in
the case.”  Id. at 205-06.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The defendants’ motion for summary judgment on the pleadings, filed before
Snerson was served, contended the alleged defamatory statement was absolutely
privileged because the statement was made in the course of a judicial proceeding. 
The amended petition, which added Snerson as a defendant, did not add any new
causes of action.  Therefore, the trial court’s order granting “Defendants’” motion for
summary judgment did, in fact, dispose of all issues and parties before the court. 
Furthermore, the trial court’s failure to single Snerson out as not included in its order
indicates the trial court intended the order to dispose of all parties.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Texas Supreme Court has provided that, if we are uncertain about the
intent of an order, we may abate the appeal to permit clarification by the trial court. 
Id. at 206; see Tex. R. App. P. 27.2.  Here, that is unnecessary.  The trial court notified
the parties it lacked jurisdiction to rule on Campbell’s motion regarding the finality
of the summary judgment.  In so doing, the trial court indicated to the parties that its
summary judgment order was intended to dispose of all parties and claims and thus
was final.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Campbell argues that, because the summary judgment order does not contain
a Mother Hubbard clause,


 the order did not dispose of all parties.  The Texas
Supreme Court has held that the omission of a Mother Hubbard clause does not make
a summary judgment interlocutory that otherwise appeared final.  See Inglish v. Union
State Bank, 945 S.W.2d 810, 811(Tex. 1997). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An order that expressly disposes of an entire case is not interlocutory merely
because the record fails to show an adequate motion or other legal basis for the
disposition.  Lehman, 39 S.W.3d at 206.  Granting more relief than that to which a
movant is entitled makes the order reversible, but not interlocutory.  Id. at 204. 
Therefore, we need not determine the propriety of Snerson’s “joining” his co-defendants’ motion or whether his “joining” the co-defendants’ notice of submission
was proper.  To avoid waiving this potential impropriety, Campbell was required
either to ask the trial court to correct the first summary judgment order while the trial
court retained plenary power or to perfect a timely appeal of that judgment.  He did
neither.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We hold the judgment was final and the trial court’s order merely noting that
lack of jurisdiction was not void.  Because Campbell did not file a timely notice of
appeal from the final judgment, we lack jurisdiction to decide Campbell’s second
issue relating to the merits of his case.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss this appeal for want of jurisdiction.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Frank C. Price



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
&nbsp;
Panel consists of Justices Taft, Alcala, and Price.




